         Case 8:14-bk-13770-MW              Doc 241 Filed 10/16/14 Entered 10/16/14 10:22:35                               Desc
                                             Main Document    Page 1 of 7
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Counsel for Old Ranch Properties, LLC


                                        UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA

In re:                                                                Case No. 8:14-bk-13770-MW

MEGA RV CORP., a California corporation; DBA                          Chapter 11 Proceeding
McMahon’s RV; DBA McMahon’s RV Irvine; DBA
McMahon’s RV Colton; DBA McMahon’s RV Palm                           NOTICE OF LODGMENT OF ORDER: ORDER
Desert,                                                              GRANTING MOTION TO COMPEL DEBTOR TO
                                                                     SURRENDER NON-RESIDENTIAL REAL
                                                                     PROPERTY
                                                   Debtor and
                                         Debtor-in-Possession.




          PLEASE TAKE NOTE that the order titled: ORDER GRANTING MOTION TO COMPEL DEBTOR TO
SURRENDER NON-RESIDENTIAL REAL PROPERTY was lodged on October 16, 2014, and is attached. This order
relates to the Motion that is entered as Docket number 218.




 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
                                                                                                                 _OrderCompelTurnoverRP
                                                                                   MAINDOCS-#206472-v1-OldRanchNOL
 December 2012                                                  Page 1                               F 9021-1.2.BK.NOTICE.LODGMENT
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                        EXHIBIT “A”
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       Counsel for Old Ranch Properties, LLC
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                              UNITED STATES BANKRUPTCY COURT
  11                           CENTRAL DISTRICT OF CALIFORNIA
  12                                 SANTA ANA DIVISION

  13   In re:                                       Case No. 8:14-bk-13770-MW
  14
       MEGA RV CORP., a California Corporation;     Chapter 11 Proceeding
  15   DBA McMahon’s RV; DBA McMahon’s RV
       Irvine; DBA McMahon’s RV Colton; DBA         ORDER GRANTING MOTION TO
  16   McMahon’s RV Palm Desert,                    COMPEL DEBTOR TO SURRENDER
                                                    NON-RESIDENTIAL REAL PROPERTY
  17                    Debtor and
  18                    Debtor-in-Possession.
                                                    [11 U.S.C. § 365(d)(4)(A)]
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                                                  MAINDOCS-#206445-v1-Old_Ranch_Order_Granting_Motion_to_Compel_Surrender
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   1          Upon consideration of the Motion (the “Motion”) to Compel Debtor to Surrender Non-
   2   Residential Real Property, filed by Old Ranch Properties, LLC (“Old Ranch”) on September 29,
   3   2014; the Opposition and Request for a Hearing on Motion to Compel Debtors to Surrender Non-
   4   Residential Real Property (“Opposition”), filed by Mega RV Corp. (the “Debtor”) on October 13,
   5   2014; and the Court determining that a hearing on the Motion is not necessary; and GOOD
   6   CAUSE APPEARING, the Court orders as follows:
   7          IT IS SO ORDERED THAT:
   8          1. The Motion is granted;
   9          2. The Debtor is compelled to immediately surrender the non-residential real property
  10             located at 5400 Garden Grove Blvd., Westminster, CA 92683 (“Premises”) to Old
  11             Ranch; and
  12          3. Old Ranch is granted immediate relief from the automatic stay in order to take
  13             possession of the Premises and to exercise any and all rights and remedies available
  14             under the Lease and applicable law.
  15          IT IS SO ORDERED.
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                                              MAINDOCS-#206445-v1-Old_Ranch_Order_Granting_Motion_to_Compel_Surrender
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      Case 8:14-bk-13770-MW                Doc 241 Filed 10/16/14 Entered 10/16/14 10:22:35                               Desc
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                                PROOF OF SERVICE OF DOCUMENT
       I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
       business address is: 660 Newport Center Drive, 4th Floor, Newport Beach, CA 92660.

               A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF
       ORDER: ORDER GRANTING MOTION TO COMPEL DEBTOR TO SURRENDER NON-
       RESIDENTIAL REAL PROPERTY will be served or was served (a) on the judge in chambers in
       the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

       1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
       controlling General Orders and LBR, the foregoing document will be served by the court via NEF
       and hyperlink to the document. On October 16, 2014, I checked the CM/ECF docket for this
       bankruptcy case or adversary proceeding and determined that the following persons are on the
       Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

           Service information continued on attached page


       2. SERVED BY UNITED STATES MAIL: On _______, I served the following persons and/or
       entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a
       true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
       prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
       judge will be completed no later than 24 hours after the document is filed.

           Service information continued on attached page

       3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
       EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
       LBR, on October 16, 2014, I served the following persons and/or entities by personal delivery,
       overnight mail service, or (for those who consented in writing to such service method), by facsimile
       transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
       delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
       document is filed.


       Via Attorney Service – Bin beside 6th Floor Elevators
       Honorable Mark S. Wallace
       Ronald Reagan Federal Bldg.
       411 W. Fourth St., Suite 6135
       Santa Ana, CA 92701


           Service information continued on attached page

       I declare under penalty of perjury under the laws of the United States that the foregoing is true and
       correct.


        October 16, 2014             Viann Corbin                                 /s/ Viann Corbin
        Date                        Printed Name                                  Signature




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